
PER CURIAM.
Appellant has sought review of an order vacating a decision of the appeals referee based on the referee’s failure to afford the employer due process of law and remanding the matter to the referee for further proceedings and rendition of a new decision. Because the order on appeal does not bring the administrative adjudicative process to a close, it is not a final administrative order. See Hill v. Division of Retirement, 687 So.2d 1376, 1377 (Fla. 1st DCA 1997). Consequently, this appeal is premature. Appellee’s Motion to Dismiss, filed on September 15, 2014, is granted and the appeal is dismissed for lack of jurisdiction.
WOLF, BENTON, and MAKAR, JJ., concur.
